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                T HE M ARLBOROUGH L AW F IRM , P.C.
                445 Broad Hollow Road, Suite 400     (212) 991-8960
                Melville, New York 11747             (212) 991-8952 fax
                                                     chris@marlboroughlawfirm.com


 August 31, 2021

 Filed electronically via CM/ECF
 The Hon. Jessica S. Allen
 Martin Luther King Building
 & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

 Re:   D’Ambly v. Exoo, et al., Civil Action No.: 2:20-cv-12880-JMV-JSA
       Plaintiffs’ Request for Telephone Conference and Expedited Discovery
 Dear Judge Allen:
 This office represents Defendant Christian Exoo in the above-captioned action. I
 write in response to Plaintiffs’ requests for a court telephone conference and for
 expedited discovery. The requests should be denied as Plaintiffs have failed to
 show that there has been or will likely be, any spoliation of evidence and fail to
 satisfy the good cause standard for expedited discovery.
 Plaintiffs make outrageous, profane and baseless claims against Defendants Exoo,
 his counsel and Twitter concerning alleged spoliation of evidence. However,
 Defendant Exoo’s Twitter account has not been deleted and is currently publicly
 accessible on the internet (See https://twitter.com/antifashgordon). Nevertheless,
 Plaintiffs proceed to waste the resources of the Court and numerous attorneys for
 defendants with these frivolous accusations.
 The Meet and Confer Process
 Plaintiffs’ Counsel has conducted himself in an abusive and uncivil manner hurling
 baseless accusations and insults at both me and my client. For example, Plaintiffs’
 Counsel asserted that Mr. Exoo deleted his account with the permission of his
 counsel in a profane manner. Plaintiffs’ Counsel stated, “ … you let your client
 delete his account what a sh*t show. Allowing your client to delete his account
 is bush league douchery.” See Exhibit A, Trainor-Marlborough E-mails at 1.
 Plaintiffs’ Counsel’s unfounded accusations, and incivility are grossly
 inappropriate.
 I explained to Mr. Trainor that his insults and use of profanity was inconsistent
 with the manner in which attorneys in federal court, or any court for that matter,
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 should conduct themselves. Id. Rather than apologize, he responded in our meet
 and confer call by saying that attorneys always talk that way, suggesting to me that
 he intends to continue with his abusive conduct and does not understand his
 professional obligation to conduct himself in a civil manner.
 On our meet and confer call, Plaintiffs’ Counsel admitted that Defendant Exoo’s
 Twitter account was currently accessible online. Plaintiffs’ Counsel was unable to
 explain how any discovery rules are violated when information is taken offline but
 archived and available for production in discovery.
 Plaintiffs’ Counsel also admitted that he was unable to identify any information
 that was recently deleted from the account. I informed Plaintiffs’ Counsel that
 there was no destructions of evidence in connection with his stated concern. He
 refused to accept my representation. He further stated that he would not accept the
 representation of Defendant Exoo either and accused Mr. Exoo of being a liar.
 In addition, Plaintiffs’ Counsel admitted that he uses social media “scraping”
 software to obtain all of Defendant Exoo’s Tweets. Nevertheless, Plaintiffs claim
 that they will be harmed by losing the same information that is already in their
 possession.
 Plaintiffs’ Counsel also admits that he failed to meet and confer with counsel for
 Defendant Twitter prior to seeking Court intervention. See Trainor Ltr. at 1.
 Twitter’s counsel would likely have told Plaintiff’s Counsel that a Twitter account
 may be temporarily deactivated without deleting any evidence. See Exhibit B, How
 to Deactivate Your Account at 2/9, located at
 https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-
 account (“Taking a break from Twitter? We get it.”). Indeed, it is impossible for
 users to delete the data on their Twitter accounts in less than 30 days. Id. Plaintiffs’
 Counsel could also have learned this information from a simple Google search.
 Plaintiffs’ Request for a Telephone Conference Should be Denied
 A Court conference is not warranted. Plaintiffs failed to conduct due diligence
 before seeking a conference and failed to confirm that any information was
 deleted. Plaintiffs claim that:
          Tweets from @AntifashGordon were referenced as Exhibits attached
          to [Exoo’s] pending motion to dismiss and that information has now
          been likely deleted and/or altered as a result of defendants’ breach of
          their duty to preserve.
 However, Plaintiffs did not even bother to confirm that any of this information was
 deleted even though the account was publicly available online both at the time of
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 the parties’ meet and confer call and the time Plaintiffs filed their request for a
 conference and even though Plaintiffs’ Counsel has his own archive of Exoo’s
 public Twitter account. Moreover, Plaintiffs’ entire case is premised on their claim
 that Exoo’s Tweets have caused and continue to cause irreparable harm to
 Plaintiffs. Yet, when the Tweets were temporarily unavailable online, Plaintiffs
 claim that caused them irreparable harm too.
 The only reason to schedule a telephone conference would be for the purpose of
 reprimanding Plaintiffs’ Counsel for his unprofessional conduct, incivility and
 filing of frivolous papers. Courts regularly admonish parties who attempt to turn
 discovery disputes into a “gotcha game” rather than treat the litigation as a full and
 fair opportunity to air the merits of a dispute. See Pension Comm. of Univ. of
 Montreal Pension Plan v. Banc of Am. Sec., 685 F. Supp. 2d 456, 468 (S.D.N.Y.
 2010). See also Zhang v. City of N.Y., No. 17-CV-5415 (JFK) (OTW), 2020 U.S.
 Dist. LEXIS 148031, at *14 (S.D.N.Y. Aug. 17, 2020).
 Plaintiffs’ Request for Expedited Discovery Should Be Denied
 Plaintiffs’ request for expedited discovery should be denied. Under the Federal
 Rules of Civil Procedure “[a] party may not seek discovery from any source before
 the parties have conferred as required by Rule 26(f) . . .” Fed. R. Civ. P. 26(d). The
 rules allow for discovery prior to a Rule 26(f) conference, inter alia, “when
 authorized by . . . court order.” Id. District Courts in this circuit have typically
 required that the party seeking such expedited discovery must demonstrate “good
 cause for its motion, such that the request is reasonable in light of the
 circumstances.” Samuel, Son & Co. v. Beach, No. CIV. A. 13-128, 2013 U.S. Dist.
 LEXIS 129486, 2013 WL 4855325, at *3 (W.D. Pa. Sept. 11,2013) (quotations
 marks and citation omitted). See Milko v. Excalibur Mediation Grp., Civil Action
 No. 20-1789, 2021 U.S. Dist. LEXIS 31790, at *2-3 (W.D. Pa. Feb. 22, 2021).
 In this case, Plaintiffs have failed to satisfy the good cause requirement. Plaintiffs
 failed to conduct due diligence when making the request and do not have a good
 faith basis to believe that any information on Exoo’s Twitter account was recently
 deleted. Moreover, Defendant Exoo has a right to be free from Plaintiffs’
 harassment. Notwithstanding Plaintiffs’ curiosity about the management of his
 account, Defendant Exoo has a First Amendment right to utilize his Twitter
 account as he sees fit.



 C HRISTOPHER M ARLBOROUGH
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                   EXHIBIT A
       Case 2:20-cv-12880-JMV-JSA Document 93 Filed 08/31/21 Page 5 of 14 PageID: 2119


Christopher Marlborough

From:                    Christopher Marlborough
Sent:                    Sunday, August 29, 2021 10:07 PM
To:                      Patrick Trainor, Esq.
Cc:                      Victoria Medley; Zachary Margulis-Ohnuma; Richard Torres
Subject:                 RE: D'Ambly v Exoo, et al.


Patrick,

I do not appreciate the insulting statements and unfounded accusations in your prior e‐mail. I suggest you conduct
yourself in a more professional manner with your colleagues, particularly when practicing in the federal court.
Moreover, it is grossly inappropriate to threaten an attorney with the filing of a sanctions motion in order to
prematurely obtain discovery material.

It is clear that you have misinterpreted several provisions of the Federal Rules of Civil Procedure and made false
assumptions about the conduct of Mr. Exoo and his counsel. I strongly discourage you from filing a frivolous motion with
the Court

Regards,

Christopher Marlborough
Principal Attorney



445 Broad Hollow Road, Suite 400 | Melville, NY 11747
Tel: 212 991-8960 | Fax: 212 991-8952
chris@marlboroughlawfirm.com
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From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Saturday, August 28, 2021 7:34 PM
To: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Cc: Victoria Medley <vm@zmolaw.com>; Zachary Margulis‐Ohnuma <zach@zmolaw.com>; Richard Torres
<richardtorresdna@gmail.com>
Subject: Re: D'Ambly v Exoo, et al.

Are you serious with that letter? Nice try, your guy creates a glide path to 37(e) sanctions and you serve a
preservation letter.

For starters, since you have obviously forgotten I already sent you a notice of discovery items with my Rule 34
requests and that was months ago. Did you forget that you included @AntiFashGordon tweets as exhibits in
your MTD and you let your client delete his account. What a shit show. Allowing your client to delete his
account is bush league douchery.
                                                                       1
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Please keep your calendars free this week, wewill be on a conference call with the Magistrate on Monday or
Tuesday or as soon as can be heard.




From: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Sent: Saturday, August 28, 2021, 7:01 PM
To: Patrick Trainor, Esq.
Cc: Victoria Medley; Zachary Margulis‐Ohnuma; Richard Torres
Subject: RE: D'Ambly v Exoo, et al.


Patrick,
Good to hear from you. You raise a question that may be answered in response to a proper discovery request in the
event that the case is not dismissed before Defendant Exoo is required to respond to discovery. Attached please find a
preservation letter relating to your clients.
Have a great weekend.
Regards,

Christopher Marlborough
Principal Attorney



445 Broad Hollow Road, Suite 400 | Melville, NY 11747
Tel: 212 991-8960 | Fax: 212 991-8952
chris@marlboroughlawfirm.com
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SENDER BY REPLY E-MAIL AND DELETE THIS E-MAIL MESSAGE AND ANY ATTACHMENTS FROM YOUR COMPUTER. THANK YOU.


From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Thursday, August 26, 2021 9:16 PM
To: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Cc: Victoria Medley <vm@zmolaw.com>; Zachary Margulis‐Ohnuma <zach@zmolaw.com>; Richard Torres
<richardtorresdna@gmail.com>
Subject: Re: D'Ambly v Exoo, et al.

Good evening. Why did your client delete his @AntiFashGordon Twitter account?

Sincerely,


Patrick Trainor, Esq.
The Law Office of Patrick Trainor, Esq., LLC
848 Paterson Avenue | East Rutherford, New Jersey 07073
                                                                                            2
                                        Case 2:20-cv-12880-JMV-JSA Document 93 Filed 08/31/21 Page 7 of 14 PageID: 2121

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From: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Sent: Monday, March 22, 2021 11:21:21 AM
To: Patrick Trainor, Esq. <pt@PTESQ.COM>
Cc: Victoria Medley <vm@zmolaw.com>; Zachary Margulis‐Ohnuma <zach@zmolaw.com>; Richard Torres
<richardtorresdna@gmail.com>
Subject: RE: D'Ambly v Exoo, et al.

Patrick,

Good speaking with you this morning and thanks for your e‐mail. We have no response.

Regards,

Christopher Marlborough
Principal Attorney



445 Broad Hollow Road, Suite 400 | Melville, NY 11747
Tel: 212 991-8960 | Fax: 212 991-8952
chris@marlboroughlawfirm.com
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SENDER BY REPLY E-MAIL AND DELETE THIS E-MAIL MESSAGE AND ANY ATTACHMENTS FROM YOUR COMPUTER. THANK YOU.


From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Monday, March 22, 2021 9:39 AM
To: Christopher Marlborough <Chris@marlboroughlawfirm.com>
Subject: D'Ambly v Exoo, et al.

Good morning Mr. Marlborough, I hope you are well. Please see the link below. Do you think
this Tweet by Mr. Exoo can be considered tampering or intimidation? Based on the close
relationship between Left Coast Watch/Abner Hauge and Exoo I do. If he doesn’t take it down
immediately I must act to protect my client.

Please confirm that he will immediately take the tweet down.

https://twitter.com/AntiFashGordon/status/1373800092734476289?s=20


                                                                                            3
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Sincerely,



Patrick Trainor, Esq.

THE LAW OFFICE OF PATRICK TRAINOR
848 Paterson Avenue | East Rutherford, New Jersey 07073
Phone (201) 777-3327 | eFacsimile (201) 896-7815

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This firm is a debt collector and may be attempting to collect a debt. Any information obtained from you will be used for
that purpose. If you are currently protected by the filing of a petition in bankruptcy, the email, including attachments, if
any, is for informational purposes only and should not be considered as an attempt to collect a debt.




                                                              4
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                   EXHIBIT B
8/31/2021Case     2:20-cv-12880-JMV-JSA Document     93 your
                                          How to deactivate Filed  08/31/21
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              How to deactivate your account
              Taking a break from Twitter? We get it. Sometimes it’s good to take a step back from
              everything that’s going on. Or if you’re looking for a permanent break, we can help
              you too. Follow our step-by-step instructions on how to deactivate—or delete—your
              Twitter account.


              Note: If you are having an account issue (e.g. missing Tweets, incorrect follower or
              following counts, suspicious Direct Messages or potential account compromise),
              deactivating and reactivating your account will not resolve it. Please refer to our
              troubleshooting articles or contact Twitter Support.


                       Deactivating vs. deleting your Twitter account
                       Deactivating your Twitter account
                       Deleting your Twitter account
                       Top things to know before deactivating your account
                       How to deactivate your account




                                                                                                                     Feedback
                       Deactivation FAQs




              Deactivating vs deleting your Twitter account
              Deactivating your Twitter account is the first step to deleting your account
              permanently. Deactivation lasts 30 days. If you do not access your account within the
              30-day deactivation period, your account is deleted and your username will no longer
              be associated with your account.




              Deactivating your Twitter account
              Deactivation begins the process to permanently delete your Twitter account. This
              step initiates a 30-day window that gives you space to decide if you’d like
              to reactivate your account.


              Deactivating your Twitter account means your username (or “handle”) and public
              profile will not be viewable on twitter.com, Twitter for iOS or Twitter for Android.




https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-account                                        2/9
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              Deleting your Twitter account
              After your 30-day deactivation window, your Twitter account is permanently deleted.
              When you don’t log into your account during the 30-day window, it lets us know you
              want to permanently delete your Twitter account. Once your account is deleted, your
              account is no longer available in our systems. You won’t be able to reactivate your
              previous account and you won’t have access to any old Tweets.




              Top things to know before deactivating your
              account
              Here are a few things to keep in mind if you’ve decided to deactivate or delete your
              Twitter account:

                       Deleting your Twitter account won’t delete your information from search
                       engines like Google or Bing because Twitter doesn’t control those sites. There




                                                                                                                     Feedback
                       are steps you can take if you contact the search engine.
                       When you deactivate your Twitter account, mentions of your account’s
                       username in other’s Tweets will still exist. However it will no longer link to your
                       profile as your profile will no longer be available. If you would like the content to
                       be reviewed under the Twitter Rules, you may file a ticket here.
                       You don’t have to delete your account to change the username or email
                       (https://twitter.com/settings/your_twitter_data/account) associated with your Twitter
                       account. Go to Account information to update that anytime.
                       Logging into your account within the 30-day deactivation window easily restores
                       your account.
                       If you want to download your Twitter data, you’ll need to request it before you
                       deactivate your account. Deactivating your account does not remove data from
                       Twitter systems.
                       Twitter may retain some information on your deactivated account to ensure the
                       safety and security of its platform and people using Twitter. More information
                       can be found here.



              If you’re having trouble managing your Twitter account, check out these tips for
              managing common issues before choosing to delete your Twitter account.



https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-account                                        3/9
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                                                                       account | Twitter Help12 of 14 PageID: 2126

                       Help with missing Tweets
                       Common following issues
                       What to do about suspicious Direct Messages and potential account
                       compromise




              Instructions for:


              How to deactivate your account
              Step 1
              Tap the navigation menu icon                        , then tap Settings and privacy.

              Step 2
              Tap Your account (https://twitter.com/settings/account), then tap Deactivate your
              account (https://twitter.com/settings/deactivate).




                                                                                                                       Feedback
              Step 3
              Read the account deactivation information, then tap Deactivate.

              Step 4
              Enter your password when prompted and tap Deactivate.

              Step 5
              Confirm that you want to proceed by tapping Yes, deactivate.

              Step 1
              In the top menu, you will either see a navigation menu icon                      or your profile icon.
              Tap whichever icon you have, then tap Settings and privacy.

              Step 2
              Tap Account (https://twitter.com/settings/account), then tap Deactivate your account
              (https://twitter.com/settings/deactivate).


              Step 3
              Read the account deactivation information, then tap Deactivate.

              Step 4
              Enter your password when prompted and tap Deactivate.

https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-account                                          4/9
8/31/2021Case     2:20-cv-12880-JMV-JSA Document     93 your
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              Step 5
              Confirm that you want to proceed by tapping Yes, deactivate.

              Step 1
              Click on the More icon                   and then click on Settings and privacy from the drop-
              down menu.

              Step 2
              From the Your account (https://twitter.com/settings/account) tab, click on Deactivate
              your account (https://twitter.com/settings/deactivate).

              Step 3
              Read the account deactivation information, then click Deactivate.

              Step 4
              Enter your password when prompted and confirm that you want to proceed by
              clicking the Deactivate account button.




                                                                                                                     Feedback
              If you find you miss Twitter and it’s been less than 30 days, simply log in and follow
              these steps to reactivate your account.




              Deactivation FAQs
              Does deactivating Twitter also delete my direct
              messages?
              During the 30-day deactivation period, your direct messages won’t be deleted. When
              the deactivation period ends and your account is deleted, direct messages you’ve
              sent will also be deleted.


              I deactivated my account, but why does it keep
              getting reactivated?
              If you authorized any third-party apps to access your account, you may be indirectly
              logging in from another app. Because logging into Twitter automatically reactivates
              your account, make sure to revoke third-party app access to your Twitter account.



https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-account                                        5/9
8/31/2021Case     2:20-cv-12880-JMV-JSA Document     93 your
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              What if I don’t have my password when I try to
              deactivate?
              If you don’t have it handy, or you’re receiving a message that it’s wrong, you may
              need to reset your password. Try requesting a password reset email
              (https://twitter.com/account/begin_password_reset).



              I requested a password reset email, but what if I lose
              access to my email address that I used to set up my
              account?
              If you lose access to your email address that is connected to your Twitter account,
              you will need to contact your email service provider. Get help with access to your
              email address. Deactivation is an action that must be taken by the confirmed account
              holder or by request of a confirmed account holder. Unless you can contact us from
              the confirmed email address (or have access to the verified mobile number on the
              account), we cannot deactivate the account on your behalf. If you do have access to
              the verified mobile number on your account, then you can request a password reset.




                                                                                                                     Feedback
              How do I deactivate my locked or suspended
              account?
              To deactivate your suspended or locked account, please submit a request here
              (https://help.twitter.com/forms/account-access/deactivate-or-close-account).
                                                                          Requests can also be
              addressed to the contacts listed under the “How To Contact Us” section of our
              Privacy Policy (https://twitter.com/privacy#chapter4.5).


              You can also get help unlocking your account (https://help.twitter.com/managing-your-
              account/locked-and-limited-accounts). Get more information on managing your locked or
              suspended account (https://help.twitter.com/managing-your-account/suspended-twitter-accounts),
              including filing an appeal (https://help.twitter.com/forms/general?subtopic=suspended).


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https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-account                                        6/9
